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                                     In the Circuit Court of the State of Oregon
                                                           For the County of Wasco

JOHN BELKNAP,                                                                        Case No. 15CV30761
           Plaintiff,
                                                                                     SUMMONS
                     V.



BERKSHIRE LIFE INSURANCE COMPANY
OF AMERICA,

          Defendants.


To:           BERKSHIRE LIFE INSURANCE COMPANY
              C/O Corporation Service Company, Registered Agent
              1127 Broadway ST NE, STE 310
              Salem, OR 97301



               You are hereby required to appear an defend the complaint filed against you in the above entitled action within thirty (30)
days from the date of service of this summons upon you, and in case of your failure to do so, for want thereof, plaintiff(s) will apply to
the court for the relief demanded in the complaint.


NOTICE TO THE DEFENDANT: READ
THESE PAPERS CAREFULLY!                                                                 /s/ MICHAEL J. KNAPP
                                                                                    SIGNATURE of attorney
    You must "appear" in this case or the other side will win automatically. To
"Appear" you must file with the court a legal paper called a"motion" or "answer."
The "motion" or "answer" must be given to the court clerk or administrator within   Michael J. Knapp, OSB No. 83394
30 days along with the required fifing. fee. It must be in proper form and have
proof of service on the plaintilf's attomey or, if the plaintiff does not have an   Attomey at Law
attomey, proof of service upon the plaintiff.                                       621 SW Morrison, Suite 900
  If you have any questions, you should see an attomey immediately. If you need     Portland, OR 97205 Telephone: (503) 222-6805
help in finding an attomey, you may call the Oregon State Bar's Lawyer Referral
Service at (503) 684-3763 or toll-free in Oregon at (800) 452-7636.


STATE OF OREGON, County of Multnomah) ss.

             I, the undersigned attorney of record for the plaintiff, certify that the foregoing is an eaact and complete copy of the
 original summons in the above entitled action.


                                                                                         ATTORNEY OF RECORD FOR PLAINTIFF(S)

 TO THE OFFICER OR OTItER PERSON SERVING TMS SUMMONS: You are hereby directed to serve a true copy of this summons,
 together with a true copy of the complaint mentioned therein, upon the individual(s) or other legal entity(ies) to whom or which this summons
 is directed, and to make your proof of service on the reverse hereof or upon a separate similar document which you shall attach hereto.


                                                                                              /s/ MICHAEL J. KNAPP
                                                                                         ATTORNEY FOR PLAINTIFF(S)

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                                                PROOF OF SERVICE

STATE OF                                                     County of                              ) ss.

            I hereby certify that I made service of the foregoing summons upon the individuals and other legal
entities to be served, named below, be delivering or leaving true copies of the summons and the complaint
mentioned therein, certified to be such by the attorney for the plaintiff, as follows:

                                        PERSONAL SERVICE UPON INDIVIDUAL

Upon                                                                                       , by delivering such true copy

to                                                                                         , personally and in person, at

                                                                                           , at        ,        M.


                                      SUBSTITUTED SERVICE UPON INDIVIDUAL

Upon                                                                                         by delivering such true copy

to                                                                                         , personally and in person, at

                                                                                             at        ,        M.



                                              SERVICE ON CORPORATION

Upon                                                                                         by delivering such true copy

to
(specify registered agent, officer (by title), director, managing agent, etc.) , personally and in person, at

                                                                                             at        ,        M.


            I further certify that I am a competent person 18 years of age or older and a resident of the state of
service of the State of                                   , and that I am not a party to nor an office, director or
employee of, nor attomey for any party, corporate or otherwise; that the person, firm or corporation served by me is
the identical person, firm or corporation named in the action.

 DATED

                     SIGNATURE OF INDIVIDUAL

                     TYPE OR PRINT NAME

                                             SHERIFF

 By
                                             DEPUTY

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 1

 2

 3

 4                       IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                   FOR THE COUNTY OF WASCO
 5
 6    JOHN BELKNAP,                                                                Case No. i.,~

 7                                          Plaintiff,
                                                                                  COMPLAINT
 g              v.
                                                                                   (Breach of Insurance Contract,
 9    BERKSHIRE LIFE INSURANCE COMPANY                                             Breach of Duty of Good Faith and
      OF AMERICA,                                                                  Fair Dealing, and Request for
                                                                                   Declaratory Relief)
10
                                            Defendants.
                                                                                   AMOUNT OF PRAYER: $168,480
11
                                                                                   ORS 21.160(1)(c)
12
                                                                                   Claim Not Subject to Mandatory
                                                                                   Arbitration
13
                                                                                   Jury Trial Requested
14

15
               Plaintiff alleges as follows:
16
                                   I,       BACKGROUND INFORMATION
17                                                               1.

18           At all material times, plaintiff was a resident of Wasco County, Oregon.
19                                                               2
20           Defendant Berkshire Life Insurance Company of America (hereinafter "Berkshire'~ is an

21   insurance company duly authorized to t.ransact business in the state of Oregon.

22                                                               3.

23           At all material times, plaintiff was covered by two disability insurance policies issued by

24   Berkshire. Berkshire assigned policy numbers Z0148340 and Z1743940 to these policies (hereinafter

25   "the Berkshire policies.')

26


     Page 1-           COMPLAINT - Breach of Insurance Contract, Breach of Duty of Good Faith and Fair Dealing,
                       and Request for Declaratory Relief
                                                           M[ceAeL J. KNAer
                                                            ATTORNHY AT LAW
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                                                        PORTLAND, OREGON 97205
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 1                                                           4.

 2           The Berkshire policies are specialty disability insurance policies that Berkshire issues

 3   exclusively to medical professionals. Both policies provide for payment of monthly disability

 4   insurance benefits if the insured is unable to perform the material and substantial duties of their

 5   "occupation" because of an injury. Both policies also state that:

 6                   If your occupation is limited to a single medical specialty certified by the
                     American Board of Medical Specialties or a single dental specialty
 7                   recognized by the American Dental Association, we will deem your specialty
                     to be your occupation.

 8                                                           5.
 9           At all material times, plaintiff was employed as a medical doctor, he was board certified as

10   a podiatrist, and he limited his practice to podiatry.

11                                                           6.

12           On or about January 10, 2010, plaintiff severely injured the ring finger on his right hand in

13   a motorcycle accident.

14                                                           7•
             As a result of this injury, plaintiff was unable to perform the material and substantial duties
15
     of his occupation as a podiatrist.
16

17                                                      8.
             Plaintiff submitted a claim for disability insurance benefits to Berkshire in February 2010.
18
                                                             9.
19
             Berkshire reviewed plaintifPs claim for benefits, and determined that he was "totally
20
     disabled" under the terms of the Berkshire policies.
21
                                                            10.
22
             In July 2010, Berkshire started paying plaintiff monthly disability benefits, and continued to
23
     pay plaintiff benefits until November 2013.
24                                                          11.
25           On November 23, 2013, Berkshire representative Michael Palrniere sent a letter to plaintiff
26   notifying him that Berkshire unilaterally decided to cut off his monthly disability benefits. Mr.


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                     and Request for Declaratory Relief
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                                                        ATTORNEY AT LAW
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 1   Palmiere indicated in this letter that Berkshire had determined that plaintiff was no longer disabled
2    from performing the material and substantial duties of a podiatrist, so he was no longer entitled to

3    receive disability benefits under the terms of his Berkshire policies.
 4                                                          12.

 5           On January 3, 2014, plaintiffs then attorney John Shaw sent a letter to Mr. Palmiere in which

6    he asked for a copy of all of Berkshire's file records related to Berkshire's decision to terminate

7    plaintifPs monthly disability benefits.

                                                            13.
8
             On February 12, 2014, Mr. Palmiere sent Mr. Shaw a letter in which he provided notice that
 9
     Berkshire was unwilling to provide copies of its records related to its decision to terminate plaintiff's
10
     benefits.
11
                                                            14.
12
             On April 29, 2014, Mr. Shaw sent Mr. Palmiere a letter in which he questioned the reasons
13
     Berkshire cited for its decision to terminate plaintiffs benefits.
14
                                                            15.
15           On June 17, 2014, Mr. Palmiere sent Mr. Shaw a letter in which he reported that Berkshire
16   had decided to stick with its decision to terminate plaintiff's benefits as of November 2013, but
17   added that plaintiff had 180 days to "appeal our decision."
18                                                          16.

19           On December 9, 2014, Mr. Shaw submitted plaintifPs appeal, and provided Berkshire

20   additional information in support of plaintiff's claim for ongoing disability insurance benefits. This

21   included plaintiff s updated medical records from C.T. Woolley, M.D., the doctor who performed

22   surgery to repair the damage to plaintiff's finger, and reports prepared by two additional doctors who
     evaluated the current condition of plaintiff's injured finger, and the impact of the injury on his ability
23
     to perform the material and substantial duties of a podiatrist.
24
                                                            17.
25
             On February 26, 2014, Mr. Palmiere sent Mr. Shaw a letter in which he said that Berkshire
26
     was initiating an appeal review process for plaintiff's claim, and that a different Berkshire

     Page 3-          COMPLAINT - Breach of Insurance Contract, Breach of Duty of Good Faith and Fair Dealing,
                      and Request for Declaratory Relief
                                                       1VIICHARL J. I{NAYP
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 1   representative was assigned to handle the appeal.

 2                                                          18.

 3           On March 17, 2015, Mr. Shaw sent Berkshire representative Charlene Blair a fax which

4    included a written statement authorized by Dr. Woolley, in which Dr. Woolley stated in part:
                     Dr. Belknap sustained a nonunion PIP joint condle fracture in 2010. The
 5
                     necrotic bone fragment was resected and a tissue arthroplasty and collateral
                     ligament repair was accomplished in an attempt to presenre a stable joint
 6                   and induce some tissue metaplasia. However, his PIP joint has developed
                     more degeneration over time, which has reduced his ROM, grip strength and
 7                   hand function coordination. Since 7/2010, his right hand has remained
                     impaired, and has slowly developed a further reduction in ROM and strength.
 8

 9                   Dr. Belknap's impaired hand will not reliably allow him to perform complex
                     physical exams on the feet or conduct fracture reductions and casting in the
10                   office. In the OR, he cannot consistently or painlessly operate drills and k-
                     wire drivers to place hardware for fracture repair and joint fusion work, nor
11                   can he reliably manipulate joints and bones for con-ect positioning with his
                     impaired hand.
12
                     For musculoskeletal surgeons, procedures and surgery comprise the majority
13                   of their job duties. Therefore, Dr. Belknap cannot conduct the significant
                     material and substantial portion of his job.
14
                                                            19.
15
             On July 16, 2015, Ms. Blair sent Mr. Shaw a letter in which she reported that following an
16
     appeal review Berkshire decided to stick with its decision to cut off plaintiff's disability benefits as
17
     of November 2013, and that plaintifps file with Berkshire is now closed.
18

19                                  II. FIRST CLAIM FOR RELIEF
                                    Breach of Insurance Policy Contract
20

21                                                           20.

22           Plaintiff realleges and incorporates by reference the allegations set forth in paragraphs 1

23   through 19, above.
                                                             21.
24
             Plaintiff has remained disabled under the terms of the Berkshire policies since he injured his
25
     finger in January 2010.
26


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                     and Request for Declarratory Relief
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                                                       ATTORNEY AT LAw
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                                    (503)222-6508 0 FAx (503) 222-6518 0 mkmapp@spiretech.com
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 1                                                         22.
 2           Berkshire wrongfully terminated plaintiff's disability benefits in November 2013, and has
 3   wrongfully refused to pay plaintiff monthly disability insurance benefits since that time.
 4                                                         23.
 5           Berkshire has thereby breached the contracts of insurance set forth in the Berkshire policies.
 6                                     -                   24.
 7           Berkshire policy Z1743940 provides for payment of a monthly disability benefit to plaintiff

     in the amount of $3,200.
 8
                                                           25.
 9
             Plaintiff has therefore suffered monetary damages in the amount of $76,800 (24 months x
10
     $3,200 =$76,800) since November 2013 as a result of Berkshire's wrongful termination of his
11
     benefits under policy Z1743940.
12
                                                           26.
13
             Plaintiff will continue to suffer damages in the future at the rate of $3,200 per month as long

14 as Berkshire continues to refuse to provide plaintiff monthly disability benefits under policy
15 Z1743940.
16                                                         27
17           Berkshire policy Z0148340 provides for payment of a monthly disability benefit to plaintiff
18   in the amount of $3,820.
19                                                         28.

20           Plaintiff has therefore suffered monetary damages in the amount of $91,680 (24 months x

21   $3,820 =$91,680) since November 2013 as a result of Berkshire's wrongful termination of his

22   benefits under policy Z0148340.

23                                                         29.
             Plaintiff will continue to suffer damages in the future at the rate of $3,820 per month as long
24
     as Berkshire continues to refuse to provide plaintiff monthly benefits under policy Z0148340.
25

26


     Page 5-         COMPLAINT - Breach of Insurance Contract, Breach of Duty of Good Faith and Fair Dealing,
                     and Request for Declaratory Relief
                                                       MICHABL J. IKNAFP
                                                        ATTORNEY AT LAW
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 1                                                            30.
 2             Plaintiff has been forced to hire attorneys to contest Berkshire's decision to terminate his
 3   disability benefits, and to pursue this insurance coverage lawsuit. As a result, plaintiff is entitled to
 4   an award of his attorney fees on this claim pursuant to ORS 742.061.

 5                                                            31.
 6             Plaintiff is also entitled to an award of prejudgment interest on this claim pursuant to OR.S
 7   82.010.

 8                               III. SECOND CLAIM FOR RELIEF
                       Breach of Implied Covenant of Good Faith and Fair Dealing

 9                                                            32.
10             Plaintiff realleges and incorporates by reference the allegations set forth in paragraphs 1

11   through 19, above.

12                                                            33.

13             The Berkshire policies include an implied covenant of good faith and fair dealing. This

14   covenant requires Berkshire to effectuate plaintiff's reasonable expectation of coverage during

     any review by Berkshire of plaintiff's entitlement to receive disability benefits under the terms of
15
     the Berkshire policies.
16
                                                              34.
17
               Berkshire breached this covenant of good faith and fair dealing when it conducted a
18
     biased, one sided and incomplete review of plaintift's entitlement to ongoing coverage under the
19
     Berkshire policies after November 2013. Berkshire did so with a goal of limiting its financial
20
     exposure to plaintifPs claim.
21
                                                              35.
22
               As a result of Berkshire's breach of the covenant of good faith and fair dealing, plaintiff
23
     has suffered monetary damages as described in paragraphs 24 through 29, above.
24                                                            36.
25             Plaintiff is entitled to an award of attorney fees on this claim pursuant to ORS 742.061.
26


     Page 6-           COMPLAINT - Breach of Insurance Contract, Breach of Duty of Good Faith and Fair Dealing,
                       and Request for Declaratory Relief
                                                         R'IICHAEL.T. KWAPP
                                                         ATTORNEY AT LAW
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 11                                                             37.

 2 1            Plaintiff is entitled to an award of prejudgment interest on this claim pursuant to ORS

 3 1 20.010.

 4                                    IV. THIRD CLAIM FOR RELIEF
                                     PlaintifPs Request for Declaratory Relief
 5
                                                                38.
 6
                Plaintiff realleges and incorporates by reference the allegations in paragraphs 1 through
 7
       1 19, above.
 8
                                                                39.
 9
                Plaintiff is entitled to a judicial declaration by the court that (a) plaintiff has been entitled
10
        to receive monthly disability benefits from Berkshire since November 2013, and (b) plaintiff is
11
        entitled to continue to receive monthly disability benefits from Berkshire until he reaches age 65,
12
        as long as he remains disabled under the terms of the Berksbire policies.
13
                                        V. REQUEST FORJURYTRIAL
14
                                                                40.
15              Plaintiff requests a jury trial in this case.
16

17              WHEREFORE, plaintiff prays for:
18              A.      A judgment against Berkshire in the amount of $76,800, based on Berkshire's
19                      wrongful refusal to pay plaintiff monthly disability benefits under policy

20                      Z1743940 after November 2013.

21              B.      A judgment against Berkshire in the amount of $91,680, based on Berkshire's

22 1                    wrongful refusal to pay plaintiff monthly disability benefits under policy

23                      Z0148340 after November 2013.
                C.      An additional judgment against Berkshire based on the amount of monthly
24
                        benefits under policies Z174394 and Z0148340 that Berkshire withholds from
25

26 1


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                        and Request for Declaratory Relief
                                                           IVI[CBAAEL J. KIYAPP
                                                            ATI'oRNEY AT LAW
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 1                  plaintiff between the filing of this lawsuit and the entry of judgment. The exact
 2                  amount of these damages will be proven at trial.
 3             D.   The judicial declaration that plaintiff asked for in paragraph 39, above.
 4             E.   Plaintiff's attorney fees, pursuant to ORS 742.061.
 5             F.   Prejudgment interest on each of plaintifPs past due monthly disability benefits
 6                  pursuant to ORS 82.010.
 7             E.   Such other relief that the Court deems just and proper.

 8
           DATED this 12' day of November, 2015.
 9

10                                                       /s/ MichaelJ. Knapp
11

12                                                       Michael J. Knapp, OSB #833943
                                                         Attorney for Plaintiff
13

14

15

16

17

18

19

20

21

22

23

24

25

26


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                    and Request for Declaratory Relief
                                                     MtcaAEt J. KntnrP
                                                      ATTORNEY AT IAW
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                                                            REGISTER OF ACTIONS
                                                                   CASE No. 15CV30761


JOHN BELKNAP vs BERKSHIRE LIFE INSURANCE COMPANY OF                             §                              Case Type: Contract
AMERICA                                                                         §                              Date Filed: 11/12/2015
                                                                                §                                Location: Wasco
                                                                                §
                                                                                §


                                                                     PARTY INFORMATION

Defendant       BERKSHIRE LIFE INSURANCE COMPANY
                OF AMERICA


Plaintiff       BELKNAP, JOHN                                                                                                    MICHAEL J KNAPP
                                                                                                                                  Retained
                                                                                                                                 503 222-6508(V


                                                               EVENTS & ORDERS OF TIlE (touRT
             OTHER EVENTS AND HEARINGS
11/12/2015   crnpj.#int
               Created: 11/13/2015 11:14 AM
11/12/2015 Service
                BERKSHIRE LIFE INSURANCE COMPANY OF
                                                                       Served                        23/2015
                AMERICA
                                                                       Returned                   12/08/2015
              Created: 11/13/2015 11:14 AM
12/08/2015 Certificate
              of Service by Corporate Service - Pursuant to ORCP 7D (3)(b)(i) via Personal Service to Sharon Walls Clerk on Duty in the Office of the
              Registered Agent; Served. November 23rd, 2015
              Created: 12/17/2015 9:07 AM


                                                                   FINANCIAL INFORMATION



             Plaintiff BELKNAP, JOHN
             Total Financial Assessment                                                                                                                  531.00
             Total Payments and Credits                                                                                                                  531.00
             Balance Due as of 12/22/2015                                                                                                                   0.00

11/13/2015   Transaction Assessment                                                                                                                       531.00
11/13/2015   xWeb Accessed eFile          Receipt #2015-1545395                                  BELKNAP, JOHN                                          (531.00)




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